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                IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  8:15CR292
                              )
          v.                  )
                              )
JOSE ALEJANDRO OROPEZA,       )                      ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on plaintiff’s motion

to continue change of plea (Filing No. 96).             The Court finds the

motion should be granted.      Accordingly,

           IT IS ORDERED that the Rule 11 hearing and the hearing

on pretrial release violation are rescheduled for:

                 Wednesday, October 19, 2016, at 10:30 a.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse,

Omaha, Nebraska, or as soon thereafter as may be called by the

Court.   The parties will have time to finalize plea negotiations

and it will accommodate the schedule of counsel and of the Court.

The ends of justice will be served by continuing this case and

outweigh the interests of the public and the defendant in a

speedy trial.    The additional time between September 21, 2016,

and October 19, 2016, shall be deemed excludable time in any

computation of time under the requirement of the Speedy Trial

Act.   18 U.S.C. § 3161(h)(8)(A) & (B).
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           A copy of the petition to enter a plea of guilty and a

copy of the plea agreement, if there is one, shall be provided to

the Court at least twenty-four hours prior to the scheduled

hearing.   Failure to do so may result in the hearing being

rescheduled.

           DATED this 19th day of September, 2016.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   _____________________________
                                   LYLE E. STROM, Senior Judge
                                   United States District Court
